Case 3:18-cv-00061-GNS-CHL Document 134 Filed 11/26/18 Page 1 of 1 PageID #: 1755




                              UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF KENTUCKY
                                   LOUISVILLE DIVISION
                            CIVIL ACTION NO. 3:18-CV-61-GNS-CHL


  UNITED STATES OF AMERICA, et al.,                                                Plaintiffs,

  v.

  HUMANA, INC.,                                                                  Defendant.

                                              ORDER

          Before the Court is the Motion of Walgreen Co. (“Walgreens”) to Withdraw its

  previously filed Motion for Protective Order (DN 100) and remand a telephonic hearing set for

  July 24, 2018.       (DN 103.)   In support of its Motion, Walgreens stated that it reached an

  agreement with the Parties on the protective order. Walgreens then separately filed a new

  Agreed Protective Order (DN 104) that the Court recently ruled upon separately (DN 133).

  Defendant Humana, Inc. filed a Response indicating that it did not object to Walgreens’s

  request to withdraw its Motion, but did object to remanding the July 24, 2018 hearing.

  The Court held the July 24, 2018 hearing as scheduled. (DN 106.)



          Accordingly,

          IT IS HEREBY ORDERED that Walgreens’s Motion to Withdraw (DN 103) is

  GRANTED IN PART AND DENIED IN PART. Walgreens’s request to withdraw its Motion

  for Protective Order (DN 100) is GRANTED, and the Motion for Protective Order (DN 100) is

  hereby WITHDRAWN. Walgreens’s request to remand the July 24, 2018 status conference is

  DENIED as moot.




  cc: Counsel of record
       November 21, 2018
